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Case 2:91-Cr-00189-SI\/| Document 250 Filed 05/03/91 Page 1 of 27

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"° 5 053L 02 3L16 \__JJMN,LE , SAMAK JAMAL ABU

 

 

 

 

 

 

 

 

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1 18 USC 844(1`.) § ARSON_ I_N VIOLATION OF THE ORGANIZED CRIME L~_ L___
1 AcT oF 1970 '(cc. 1) 11_, L_
L\lS_,_U&C....Z...W__1`.______"_ 'AI.DIN.G A`ND AB§IIING (Ct . 1) ll_ L“],
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D‘“°'A"'“ °FFE"$E "" °°"‘°"‘"" 18§84£1(1'.); 371 damage by means of fire/explosive material , buildlng
which caused death of individual , building used in interstate commerce .
ow hal ulmet and w"ix numbers 01 olhu dehnd;mi on wm indictm'nt/infolml\ion:
02-DANIEL JOSEPH LEE, A. MOUSA - 3 , T. MOUSA - 4 'W'~E {:] E [j: °°u[.j g
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AYTORNEVS

 

U. S. A1tom¢y o' Am.

GIW_I_N_ Fred P. Harper, Jr.- AUSA

501 Magazine St., New Orleans, LA 70130

 

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Deft'$ AddYeSS Martin Regan, Jr.

650 Poydras St.,
#21826"03[+ Suite 1400
P. 0. Box PMB, USP New Orleans, LA 70130
Atlanta, GA 30315 522-7260

 

lV. NAMES l ADDRES$ES OF ATTORNEVS, SURET|ES, ETC.

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APPEAL$ FEE FA¥MENTS

 

 

 

 

l_l MASTER D°CKET - MULT|FLE DEFENDANT CASE

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wmo~ww-»~\w~'¢g~»~" v. pnocseomes
A complaint was filed by JS,SA,ATF.
A warrant of arrest was issued by Magistrate Judeg Wynnerfor the
arrest of the defendant. . 7
Govt mtri and ORDERED complaint, affidavit, and warrant be SEALED. (CJM).

 

 

 

 

 

 

 

 

 

 

 

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Case 2:91-Cr-00189-SI\/| Document 250 Filed 05/03/91 Page 3 of 27

HASTER PAGE iii

D. C. 109A
cR\MlNAL DocKET USA vs- SAHAK, ET AL 91-189 "A"

 

 

DATE PRQCEED!NGS

 

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cnlm: coNTROL Ac'c oF 1970 (A. nousa) 12/6/91

18 usc 371 coNsPIRAcY To vloLATE 0RGANIzED cRIME coNTRoL AcT oF 1970 (ct 1)
18 USC 844(1) vloLATIoN oF oRcANIzED cRIME coNTRoL AcT oF 1970 (cc 1)

TOTAL SUPERSEDING CTS - 1

 

 

 

 

 

Case 2:91-Cr-00189-S|\/| Document 250 Filed 05/03/91 Page 4 of 27

HASTER PAGE iv

 

UN|TED STATES D\STR|CT COURT

 

cmM\NAL oocKET u. s vs 91-189 "A"
SAMAK, ET AL
Ao 256A9 mt l 00¢1<¢1~°, 1011
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z (a) (b) (c) (d)
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oRcANIzED cum coNTRoL AcT oF 1970 ('1'. nousa) 12/6/91

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TOTAL Superseding Cts - 1

 

 

 

 

 

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Case 2:91-Cr-00189-S|\/| Document 250 Filed 05/03/91 Page 5 of 27
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cR\MlNAL oocKET u. s vs 91_189 _A_
Ao 255/10 uSA vs° sl“um' ET AI' Qr. l Docke!No. |D¢f.
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18 Usc 371 ct. 1
18 usc 844(i) ct. 2
18 usc 34 ct. 2 nEs'muc'rIoN BY FIRE
18 Usc 2 ct. 2
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Case 2:91-Cr-00189-SI\/| Document 250 Filed 05/03/91 Page 6 of 27

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UNITED STATES DISTRICT coUR'r 1 . v .

  

D. C. Form No. 'lOGA Rev.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

'rxTLE 0F cAsE ATTORNEYS
~ 0 THE UNITED sTATEs For U. s..~
§ \ _ vs. Fred P. Harper, Jr. - AUSA
§§ '-'N"LJAMAL ABU sAMAK Z~>’/Zo/‘?L 500 magazine street
§ gy<rc, DANIEL JosEPH LEE §)§3\4 > New orleene, LA 70130
\ superseding lnd./InfoABDEL T. MOUSA Jd ‘~l /¢ 7`
O superseding Ind./InfoTARK MoUsAJi(C 4// 9v
'\ INDICTMENT FOR ARSON IN VIOLATION OF
`5 THE oRGANIzED cRIME coNTRoL AcT oF 1970
c'
"’ 18 USC 844(1) Ct. 1 For Defendant:
§ ,~ 18 Usc 2 cr. 1
\ See Individual Sheets'
` SUPERSEDING INDIC'.I.'HENT FOR CONSPIRACY TO VIOLAT`E
v §" m okcAler.n cams coNTRoL Ac'.r or 1970
18 Usc 371 (cT _1) ‘ 1
18 Usc 844 (1) (cT 11) y
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bk mm PRocm nmesy
,') 5/3/91 1 INDICTMENT.
5/3/91 2 GRAND JURY RETURN; no action necessary except ntc.
5/3/91 3 Ntc of ARR as to both defts set 5/10/91 at 10:00 a.m. bfr Mag Wynne.
(Bo'ru m:F'rs)

5/6/91 4 M.E. <5/3/91) DETENTIoN HRc - den is not entitled re release; den
committed to custody of Atty Gen; written findings & statement of `
reasons ordering detention filed; Govt stip no fed law was broken
when firearm was purchased; deft detained, remanded to USM; Govt'

a _ s oral mtn to unseal case - GRANTED (Mag Moore) dktd 5-6-91.
) ' { (sAnAK)
5/6'/91 5 M.E.` 5/6/91= INITIAL APPEARANCE= De£c edvieed; reading of indict weived;
deft informed court he will retain counsel; deft remanded; Detn hrg set
5/9/91 at 2/3 PM at CCC Federal Tier. (Mag Wynne) dktd 5/7/91. 1
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DATE PRocEEDrNGs
5/6/91 6 M.E. CR ARR: reading of indictment waived; d¢£. nevieeu; deft pleads not 5uilty
to all etsi deft given 10 days far special pleadings; deft remaudcd. (Mag Wynne)
dktd 5/8/91. ' ` '
5/8/91 X Magistrate papers from Westerd District of Louisiana.
5/8/91 7 M.R. on warrant to deft; arrested 5/3/91.
5/10/91 8 M.E. 5/3/91: Initial app: Deft informed ct that he would retain counsel.
Deft remanded to custody of USM. Arr held. (Mag. Moore) dktd 5/10/91. (SAMAK)
5/10/91 9 M.E. 5/3/91: ARR: Deft pleads not guilty to all cts. Deft given 10 days to
file special pleadings. Deft remanded to custody of USM. (Mag. Moore)
dktd 5/10/91. (sAMAK)
5/13/91 10 M.E. 5/13/91= 0RDERED chen deft be detained pending criel. (Meg. Moore)
dktd 5/14/91. (sAnAK)
5/14/91 ll M.E. 5/6/91: Initial app held. Govt moved for detention - GRANTED; ORDERED that
detention hrg is set for 5/9/91 after 2:00 p.m. at CCC. Deft remanded to custody
of usM. (Meg. wynne) dkcd 5/14/91.(LEE)
5/14/91 12 M.E. 5/9/91: Detention hrg set. ORDERED that detention hrg is CONT to
5/13/91 at 10:00 a.m. at CCC. (Mag. Wynne) dktd 5/14/91. (LEE)
5/1&/91 13 M.E. 5/13/91: Detention hrg; Deft detained; remanded to custody of USM. (Mag. Wynne)
dktd 5/14/91. (LEE)
5/14/91 14 M.R. on capias - deft arrested on 5/3/91. (LEE)
5/15/91 15 Mtn of deft to suppress evidence; hrg set for 6/5/91 at 10:30 a.m. bfr Judge. (LEE)
5/15/91 16 Mtn of deft for production of Brady & Giglio material; hrg set for 6/5/91 at
ll:OO a.m. bfr Mag. Moore. (LEE)
5/15/91 17 Mtn of deft for pre-trial production of Jencks Act material ; hrg set for 6/5/91 at
11 00 e.n. bfr Meg. Meere. (LEE)
5/15/91 18 Mtn of deft for disc & inspection; hrg set for 6/5/91 at 11:00 a.m. bfr Mag.
Moore. (LEE)
5/20/91 19 Ntc of trial set for 7/8/91 at 8:30 a.m. PTC set for 6/26/91 at 3:30 p.m. bfr Judge.
(BorH DEFTS)
5/23/91 20 Govt's oppos to deft's mtn to suppress statements. (LEE)
5/23/91 21 Govt's oppos to deft's mtns for pretrial prod of Jencks, Brady & Giglio material.
(LEE)
5/23/91 22 M.E. (5/22/91) Due to conflict in courc'e eelendar, oRDERED then PTc is RESET
from 6/26/91 at 3:30 p.m. to 6/26/91 at 5:00 p.m. (CSjr) dktd 5-23-91. (BOTH DEFTS)
5/31/91 X Mail returned addressed to Daniel Joseph Lee (doc #19).
5/31/91 `23 Govt's mtn & ORDER that Mrg on mtn to suppress statements of deft is CONT To 6/19/91.

e~ (csjr\ Akrd 6/5/91.(LEE)

 

 

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Case 2:91-Cr-00189-SI\/| Document 250 Filed 05/03/91 Page 8 of 27

MASTER SHEET ’

   

UN|TED STATES D|STR|CT COURT

 

PAGE 2
CR|M|NAL DOCKET U. S. vs
JAMAL ABU SAMAK & DANIEL JOSEPH LEE 91-189 "A"
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fry oATE PRocEEolNGs(eemwmed) V‘EXCLuDABLE DELAY
(a\ (b) (c) (d)
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6/5/91 24 M.E. 6/5/91: Hrg on mtns of deft for disc & inspection -
Govt's answer is satisfactory; mtn of deft for pre-trial
prod of Jencks - DENIED; mtn of deft for prod of Brady &
Giglio material - Govt's answer is sufficient. (Mag.
Moore) dktd 6/10/91. (LEE)

6/13/91 25 Req by deft for subps; 2 issd. (LEE)

6/19/91 26 Hrg on mtn by deft to suppress statements-DENIED, writt:n
reasons to follow. (DANIEL LEE)

6/17/91 27 Rtn on subp to Detective Pascal Saladino, Detective Nornan
Pierce; svd 6/13/91.

6/25/91 28 SEALED DOCUHENT

6/26/91 29 Written Reasons: mtn by deft to suppress"statements
obtained pursuant to an interview on 3/20/91 has been
denied. (csjr) dktd;0/27/91 (LEE)

6/26/91 30 Govt's mtn 8 0RDERED that rriel le coNT until 8/19/91
at 8¢30 e.n. (csjr) 6/27/91 dktd 6-28-91. (BoTH DEFTS)

6/28/91 31 sEALEn nocunsur.

6/28/91 32 Ntc of Trial set 8/19/91 at 8:30 a.m. bfr Judge.

(BoTH DEFTs)

7/10/91 33 Mtn of deft 8 0RDER that TRIAL set for 8/19/91 is coNT
to 8/26/91 et 8=30 e.n. (csjr) 7/11/91 dktd 7/12/91.
(BoTH DEFTS)

 

7/11/91 34 Ntc of TRIAL set for 8/26/91 at 8:30 a.m. PTC set for 8/21/91
at 3:30 p.m. bfr Judge. (BOTH DEFTS)

7/17/91 35 sEALED nocuMENT

7/17/91 36 Ntc of re-arr set for 7/22/91 at 9:30 a.m. bfr Judge.

7/19/91 37 sEALED. DocUMENT.

7/19/91 38 sEALED nocuMENT.

7/22/91 39 RE-ARR - deft sworn; enters plea of guilty as to Ct. l;
indict read; plea bargain agreement filed; Court accept
guilty plea; PSI Ordered; Sent to be set; deft remanded
(csjr) dktd 7-22-91. (LEE)

7/22/91 40 Plea agreement letter. (LEE)

7/23/91 41 SEALED DOCU`MENT.

 

 

 

 

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\nxerval Stan Dale Lxr. Toul
(per Saction ||) End Dam Codd Days

 

 

 

 

 

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UN|TED STATE$ D|STR|CT COURT
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£Documem No.)
7/26/91 42 sUPERsEDlNG lNchTMENT. cTs ll (A. nonsA, r. nousA a sAuAK)

7/26/91 43 Govt's mtn & ORDER that superseding indictment be SEALE). 5
(MAG. MooRE) dktd 7/30/91.

7/26/91 44 Grand jury return; 2 capias issd. (A. HOUSA, T. MOUSA & SAHAK)

7/30/91 45 Ntc of arr on superseding indictment set for 8/9/91 at lJ:OC
bfr Mag. Ronald Fonseca. (SAMAK)

8/1/91 46 sEALED DocuMENT.

8/5/91 47 Govt's mtn & ORDERED that Clerk unseal indictment in case.
(Meg Feneeee) dktd 8/7/91. (ALL DEFTS)

8/6/91 48 M.E. 8/5/91: Initial Appearance: deft advised of rights;
superseding indict read; deft informed ct that he would
retain counsel; deft remanded to USM; deft informed that
arr is set for 8/7/91 @ 2:00 pm; deft is informed that

detention hrg is set for 8/7/91 @ 2:00 pm; deft ordered

to re-appear for arr/detention hrg w/ counsel. (Mag Fonsena)
dktd 8/7/91. (A. MousA)

8/6/91 49 M.E 8/5/91: Initial Appearance: deft advised of rights
superseding indict read; deft informed ct that he would
retain counsel; deft remanded to custody of USM; deft

vinformed that arr & detention hrg is set for 8/7/91 @
2:00 pm; deft ordered to re-appear for arr/detention
hrg w/ counsel. (Mag Fonseca) dktd 8/7/91 (T. MOUSA)

8/8/91 50 M.R. on warrant for arrest of deft - arrested 8/5/91. v
(A. nousA)

8/7/91 51 Mtn by deft 0 0RDERED that sent set for 10/9/91 @ 10=3oan
be cont to 10/30/91 @ 10:30 am. (CSjr) 8/8/91 dktd 8/9/91.
(LEE)

8/9/91 52 M.E. 8/7/91: ARR & det hrg set; Defts make oral mtn to cont

arr & det hrg; ORDERED that arr & det hrg are CONT to ~
8/9/91 at 2:00 p.m. bfr Mag Fonseca; Defts remanded to cust>dy of
USM. (Mag. Feneeea) dktd 8/12/91. (A. MousA a T. MousA)

8/9/91 53 M.E. 8/9/91: ARR: Deft pleads not guilty to all cts; deft given
10 days to file special pleadings; deft remanded to custody of
USM. (Mag. Fonseca) dktd 8/12/91. (SAHAK)

8/12/91 54 M.E. 8/9/91: ARR: Deft pleads not guilty to all cts;
Deft given 10 days to file special pleadings; Deft remanced»
to custody of USM. Garcia Hrg set for 8/14/91 at 2:00 p.m.
bfr Mag. Chasez. (Mag. Fonseca) dktd 8/12/91. (A. HOUSA)

8/12/91 55 M.E. 8/9/91: ARR: Deft pleads not guilty to all cts; deft given
10 days to file special pleadings; deft remanded to custcdy

2£1‘.£§’3; §§zsia/nzq§et¢i°re§é£ié9l at 2=°° P~“‘~ bfr Mag'

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(pcr Secnon ll) End Date Code Davs

 

 

 

 

 

 

 

 

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MASTER SHEET
UN|TED STATES D|STR|CT COURT ) PAGE 3

 

 

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91-189 "A"
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' », f DATE PRocEl-:Dmcs lcemmued) V~ EXCLUDABLE DELAY

 

{Documem Nc.)

 

) (a) (b) (c) (d)

8/13/91 56 M.E. 8/9/91: DETENTION HRG: deft remanded to custody of
U S Marshal; exh marked & admitted; PTS report entered
into evidence; court not going to set bond at this time,
but requires all individuals considering posting bond
submit affidavit indicatingr all of their assets.
(Mag Fonsece) dktd 8/14/91. (A. MousA)

U S Marshal; exh marked & admitted; PTS report entered
7 into evidence; court not going to set bond at this tim
1 but requires all individuals considering posting bond
submit affidavit indicating all of their assets.

(Mag Fonseca) dktd 8/14/91. (T. HOUSA)

8/13/91 57 M.E. 8/9/91: DETENTION HRG: deft remanded to custody ]f

8/16/91 58 M.E. 8/14/91: Garcia Hearing was set this date.
ORDERED that Robert Glass file mtn to enroll as
counsel of record by 8/19/91. (Mag Chasez)

dktd 8/16/91. (A. Mousarl& 'r. nousA)

8/16/91 59 M.E. 8/15/91: ORDERED that bonds of defts be set at
$500,000.00 each. FURHTER 0RDERED that travel of each
deft be limited to Eastern Dist of LA, that they
report to PTS Officer as directed & that they
surrender any passports they may have. Bonds may be
secured only b cash, commercial surety, or real estate
& identical assets may not be used as security for
bonds of both defts. If either or both defts are able
to make bond, the ct reserves the right to conduct

a hrg bfr approving bonds. (Mag Fonseca) dktd 8/17/91
(A. noUsA s 'r. noosA)

8/16/91 60 M.E. 8/15/91: ORDERED that letter & affs regarding
financial assets of defts be filed into the record.
(Mag Fonseee) dktd 8/17/91. (A. MousA & '1'. llousA)

§ 8/20/91 61 Mtn by defts & ORDER that USM & Orleans Parish Crimina]
Sheriff Foti permit same to meet together w/counsel upcn
request of either of their counsel. (Mag Africk) dktd E/21 91.
(A. 8 'l'. nousA)

8/20/91 62 Mtn by Ralph S. wHalen, Robert Glass & FRank Zaccaria & CRDERED
that Ralph S. WHalen, Jr. be cont as counsel for deft
Abdel T. Mousa only; ORDERED that Robert Glass be enterec as
counsel for Tark Mousa; and ORDERED that Frank V. Zaccaria, Jr.
be relieved of further responsibility in this case. (CSjl)
dktd 8/21/91. V(VA.M&_T. nousa)

} 8/20/91 \ 63 Mtn by defts & ORDERED that trial be CONTINUED from 8/26/91 to

/; : 10/7/91; FURTHER ORDERED that time for filing mtns be extended

z to 20 days from date of signing this order. (CSjr) dktd 8/22/91.
(A. s '1'. nousA)

 

 

 

 

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(per Sec\ion ll) End Bote Code st!

 

 

Case 2:91-Cr-00189-SI\/| Document 250 Filed 05/03/91 Page 11 of 27

 

UN|TED STATES DlSTRlCT' COURT
CR|M|NAL DOCKET
AO 256A

 

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131 (b) (C) (d)

 

£DocumenlNo.)
8/21/91 64 M.E. 8/20/91: Considering mtn by defts to continue; ORD RF
that trial is CONTINUED to 10/7/91 at 8:30 a.m. for reasons
stip. (CSjr) Date Signed 8/20/91 dktd 8/22/91.
(A. s ‘r. noUsA)

 

 

8/22/91 65 Ntc of trial set for 10/7/91 at 8:30 a.m. bfr Judge; pre-t“ial
COnf Set for 10/2/91 at 3:30 p.m. (SAHAK, A. MOUSA AND :r. HOI]SA)

8/23/91 66 Govt's req for subp; 50 issd.

9/9/91 67 Mtn by defts & ORDERED that time for filing pre~trial mtn; is
extended by 10 days from the date of signing this mtn. (CSjr) Date
signed 9/10/91 dktd 9/1l/91.(A a 'r nousA)

9/12/91 68 Govt's pre~trial memorandum. (A & T. MOUSA, J. SAMAK)

 

9/16/91 69 M.E. 9/13/91: 0RDERED that en evidentiary hrg be set 9/18/)1 t 2100
P.m. to determine sufficiency of security offered by Mr. & Mr . Salem;
FURTHER ORDERED that deft's counsel produce lst mortgage e<ec ted

by Salems which had been tendered to the court on 8/29/91. (M g Fonseca
dktd 9/16/91. (A. & T. MousA)

9/17/91 70 M.E. 9/12/91: Deft brought bfr Mag to post $500,000.00 prolerty bond;
deft remanded to custody of USM until bond is perfected. (Mag Fonseca)
dktd 9/18/91. (A. MoUsA)

9/18/91 71 Mtn by deft for severance of his trial from trial of co-deft; hrg set
10/9/91 at 10:30 a.m. bfr judge. (A. HOUSA)

9/18/91 72 M.E. 9/17/91: ORDERED that upon request of deft's counsel, EV]DENTIARY
hrg set 9/18/91 at 2:00 p.m. is RESET for 9/25/91 at 2:00 p.m (Mag Fonseca)
dktd 9/19/91. (A. nousA)

9/18/91 73 Mtn by deft & ORDER that same be allowed to adopt pleadings flled
by ee~defte. (csjr) dktd 9/19/91. (A. noosA)

 

9/18/91 74 Mtn by deft for Brady/Giglio Materials; hrg set lO/23/9l l]:OO a.m.
bfr Mag Moore. (A. MOUSA)

9/18/91 75 Mtn by deft to produce hearsay statements by co-conspirato s; hrg set
10/23/91 at ll:OO a.m. bfr Mag. (A. HOUSA)

9/19/91 76 M.E. 9/18/91: ORDERED that mtn by deft for severance, set 0/¢/91 will
be heard 9/30/91 at 10:30 a.m. (CSjr) dktd 9/19/91. (A. H SA

9/20/91 77 Mtn by deft & ORDER that same be permitted to file addl mt s v/in
10 days after rulings on mtns now pending. (CSjr) dktd 9/2 /9]. (A. MQUSA)

9/20/91 78 Mtn by deft & ORDERED that same be allowed to adopt mtns o hls co-
defts. (csjr) dktd 9/23/91. (A. nousA)

 

9/26/91 79 Govt's opposition to mtn by deft for severance. (A HOUSA)

executed by Mr & Mrs Salem bfr court will accept propert as security for
deft's bond; deft remanded. (Mag Fonseca) dktd 9-27-91. .' GUSA)

lmerval Smrl Date__ Lcr. Tou|
CONTINUED , (p¢v Secuon l|) Er\d Date Code Davs

9/27/91 80 'M.E. 9/25/91: Evidentiary hrg held this date; As stip a ew Iortgage must be

 

 

 

 

 

 

 

 

 

Case 2:91-Cr-00189-SI\/| Document 250

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UN|TED STATES D|STR|CT COURT Page 4
CRIMINAL DOCKET U. S. vs
SAMAK & LEE, ET AL 91'189 "A"
AO 256A9 w 1 oeekex~o. loe¢.
f oATE PRocEED¢NGs (cemmued) V' EXCLUDABLE DELAV
lB) (b) (c) (d)
£|" No.)
10/1/91 81 Govt's memo in opp to mtn by defts for Brady & Giglio
Materials. (A. nousA, '1'. noosA, J. sAMAK)
10/1/91 82 lGovt's memo in opp to mtn by defts to produce hearsay
statements by co-conspirators. (A. HOUSA, T. HOUSA, J. SAMAK)
10/1/91 83 Mtn by deft & ORDERED that same be permitted to use
tleephone 5 times per week thru 12/16/91. (Mag Chasez)
dktd 10/1/91. ('1'. nousA)
9/30/91 84 9/30/91= Hrg on mtn by deft to eever-sUBMITTED. (A. nonsA)
10/1/91 85 ORDER & REASONS: ORDERED that mtn by deft to Sever is DEDIED.
(csjr) dktd 10/1/91. (A. uousA)
9/20/91 86 Mtn by defts & ORDERED That trial be CONTINUED from 10/7/51 to
12/9/9]. at 8:30 a.m.; FURTHER ORDERED That PTC be RESET f(r
12/4/91 at 3;30 p.m. (csjr) dktd 10/2/91. (sUMAK, A. uoUsA, '1'. MoUSA)
10/1/91 87 Mtn by deft & ORDERED that same be allowed to travel outside
of jurisidction to Detroit, MI on 10/4/91 returning 10/13 91.
(Mag Fonseca) dktd 10/2/91. (A. MDUSA)
10/1/91 88 Govt's mtn in opposition to mtn by defts for Brady & Ciglio
Materials. (A. nousA, T. uousA, J. sAMAK)
10/3/91 89 M.R. on Mtn & ORDER; svd at CCC 10/1/91. (T. HOUSA)
10/1/91 90 Ntc of TRIAL set 12/9/91 at 8:30 a.m. bfr judge; PTC set
12/4/91 at 3:30 p.m. bfr judge. (ALL DEFTS except D. Lee)
9/30/91 SZ+a Ntc of SENTENCING RESET for 10/23/91 at 10:30 a.m. bfr
jduge. (1). LEE)
10/7/91 91 Govt's mtn & ORDERED that SENTENCING set 10/30/91 is
coNTINuED to 1/8/92. (PEc) for Judge schwartz (n. LEE)
10/8/91 92 NTC of SENTENCING set 1/8/92 at 10:30 a.m. bfr judge. (D. LEB)
10/9/91 93 Govt's petn & ORDERED that writ of H/C ad test be issd to
warden, Hunt Correctional Facility to surrender body of D>nald Craft
to appear bfr Grand Jury on 10/11/91 at 8:30 a.m., same tb be
returned thereafter. (Mag Lemelle) dktd 10/10/91. (ALL DEFTS}
10/11/91 94 2nd Superseding indictment. (A. HOUSA, T. MOUSA & SAMAK
10/11/91 95 GRAND JURY RETURN on 2nd Superseding Indict: No action
necessary. ARR is set for 10/18/91 lO:OOam w/Mag Moore.
(A. HOUSA, T. MOUSA & SAHAK)
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M.E. 10/9/91: hrg on mtn of deft to produce hearsay state:ent

PROCEED|NGS (continued)

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V EXCLUDABLE DELAV

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conspirators and ORDERED that said mtn is DENIED; hrg on
deft for Brady and Giglio materials and ORDERED that the

deft has no;authority in support of his position that he ls

entitled to production by the govt of such co-conspirator

ments or that he is entitled to a James hrg in light of tle
The govt will provide Jencks, Brad), Giglio
materials to the defense so it will not cause a delay in t

holding in Bourjaily.

(Mag LMjr) dktd 10/15/91. (A. nousA)

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he trial.

Ntc of ARR on 2nd superseding indiet;set 10/18/91 at 10:¢0 am. bfr Mag. Moore.

(sAMAK, A. MousA a 'r. HousA)

M.R. on writ of H/C ad test to Warden, Hunt Correctional
ness taken into custody & returned 10/11/91.

M.E. 10/18/91: CR ARR: Reading of 2nd superseding indict
advised of maximum penalty; deft pleads not guilty to all
10 days for special pleadings; deft remanded to USM; PTC
12/4/91 at 3:30 p.m. bfr judge; TRIAL set 12/9/91 at 8:30
judge. (Mag Moore) dktd 10/21/91. ('1'. uousA)

M.E. 10/18/91: CR ARR: Reading of 2nd superseding indict
advised of maximum penalty; deft pleads not guilty to al
10 days for special pleadings; deft released on original
12/4/91 at 3:30 p.m. bfr judge; TRIAL set 12/9/91 at 8:3
judge. (Mag Moore) dktd 10/21/91. (A. MQUSA)

M,E. 10/18/91: CR ARR: Reading of 2nd superseding indictment

advised of maximum penalty; deft pleads not guilty to all
10 days for special pleadings; deft remanded to USM; PTC
3:30 p.m.; TRIAL set 12/9/91 at 8:30 a.m. bfr judge. (Mag
(J. sAMAK)

Govt's req for subp; 45 issd.

Transcript of bond hrg held 9/13/91 bfr Mag Fonseca.

Mtn by deft for early disclosure of Jencks & Giglio Mater
set 11/13/91 at 11:00 a.m. bfr Mag Moore.

Mtn by deft for early ntc of Rule 404(b) evidence; hrg se
at 11:00 a.m. bfr Mag Moore.

Mtn by deft for discovery & inspection; hrg set 11/13/91
bfr Mag Moore.

Mtn by deft for govt agents to retain rough notes; hrg s
at 11:00 a.m. bfr Mag Moore.

Mtn by deft for disclosure of co-conspirator statements;
11/13/91 at ll:00 a.m. bfr Mag Moore.

Mtn by deft for Giglio & other impeachment information;

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cts & given
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waived; deft
l cts & given
bond; PTC se:
J a.m. bfr

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& given
12/4/91 a:

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Lal; hrg

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11/13/91 at 11:00 a.m» bfr Mag Moore.

 

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UN|TED STATES DlSTRlCT COURT

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1 ‘Documem No ) m (b) (c) (d)
10/29/91 110 Mtn by deft & ORDERED that same be allowed to

travel to Ankron, OH on 10/31/91 & on to Detroit, Ml
on ll/7/91, returning to New orleans on 10/9/91.
(csjr) dktd 10/30/91.

ll/1/9l 111 M.E. 9/26/91: Bail hrg held; docs securing deft's bond in amt of
$500,000.00 appear to be in order; deft released on bond;
counsel for deft to furnish court w/up-to-date mortgage
certificate on property tendered by Mr. Salem. (Mag
Fonseea) dktd 11/1/91. (A. nousA)y

z 11/6/91 112 Govt's answer to mtn by deft for discovery & inspection

‘ ('r. noUsA)
Ll/6/91 113 Govt's answer to mtn by deft for early notice of Rule ¢04(b). (T. HdUSA)
11/6/91 114 Govt's answer to mtn by deft for govt agents to retain lough

notes. (T. MOUSA)

11/6/91 115 Govt's answer to mtn by deft for Giglio & other impeach ent
information. (T. MCUSA) T

f
11/6/91 116 Govt's opposition to mtn by deft for disclosure of
co-conspirator statements. (T. HGUSA)

11/6/91 117 Govt's opposition to mtn by deft for early disclosure f
Rule 26.2, Jencks & Giglio material. (T. MOUSA)

11/14/91 118 M.E. 11/13/91: Hrg on mtn by deft for govt agents ro retain rough nctes
for early notice of Rule 404(b) evidence; for discovery & inspectior
for disclosure of co-conspirators' statements; for Gig io & other

impeachment information; & for early disclosure of Rul¢ 26.2 Jencks

& Giglio material- ORDERED granted in part as stip. (Mdg Moore)
dktd 11/20/91. (T. MOUSA)

v 11/22/91 119 sEALED. (s.»uousA)

11/22/91 120 sEALED. (A. MoUsA)

11/25/91 121 Govt's req for subp; 30 issd.

12/6/91 122 superseding bill of information ('r. nousA)

12/6/91 123 Superseding bill of information. (A. Housa)

 

 

 

 

 

g 12/5/91 124 Govt's mtn & ORDERED that deft be released from custody of
§ USM & turned over to Special Agents of Bureau of Alcohcl,
' Tobacco & Firearms & ORDERED that same return deft by
4:00 p.m. on 12/5/91. (Mag wynne) (T. MOUSA)
12/5/91 125 Govt's requested special jury instructions.
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UN|TED STATES DISTR|CT COURT
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AO 256A
f oATE PROCEED|NGS (eeminned) 4. V- EXC'-UDABLE DELAY
(i) (b) (Cl (d)
(Documem No.)
12/5/91 126 Petn & ORDERED that writ of H/C ad testificandum be issi

to Sheriff of Jeff Parish Correctional Center to surrenler
body of Ashley Evans on 12/9/91 at 8:30 a.m. to appear
bfr Judge Schwartz for testimony. (Mag Wynne) Date Signad
12/6/91 dktd 12/9/91.

12/6/91 127 Govt's requested voir dire questions.(SAMAK, A & T HOUSA)

12/6/91 128 Govt's requested special post verdict jury instructions.
(A & T MoUsA, sAMAK)

12/6/91 129 RE:ARR 12/6/91: Defts sworn & w/drew former pleas of no guilty
& pled guilty to Ct 1 of superseding Bill of info; waivdr of
indictment filed as to both defts; court questions deft & dvises
same of sentencing guidelines; plea bargain letters filed S:court accepts
pleas of both defts; PSI ORDERED; deft T. Mousa remandel; ft A. Mohsa
released under present bond. (A & T HOUSA)

12/9/91 130 Waiver of indictment. (A. HOUSA)

12/9/91 131 Waiver of indictment. (T. HOUSA)

12/9/91 132 Plea bargain letter. (A. HOUSA)

12/9/91 133 Plea bargain letter. (T. MOUSA)

12/9/91 134 Ntc of SENTENCING set 2/19/91 at 10:30 a.m. bfr judge. (A. & T. MOUSA
12/9/91 135 M.E. 12/5/91: Deft bfr Mag to perfect property bond in

amt of $500,000.00; deft signed forms & was released.
(Mag cheeez) dktd 12/9/91. (T. mousA)

12/9/91 136 Mtn by deft & ORDERED that same be permitted to use tele)hone 5 times
per week thru 3/15/92. (Mag chasez) dktd 12/11/91. (T. unisa)

   

12/11/91 137 k n mtn d order to releasefdeft'to;Bureau.of.Aleohol§fTobacco & Firearms;

released &lreturned:12/5/91;' `(T. Housa)
12/11/91 138 Request by deft for subp; l issd. (J. Samak)

12/11/91 139 M.R. on mtn & order for phone calls; svd at CCC 12/9/91. (1. Housa)

12/11/91 140 Petn by deft & ORDERED that Foti, Sheriff for Orleans Parish deliver
body of Clarence Williams to testify on 12/11/91 at 9:0) a.m. bfr julge
(CSjr) Date Signed 12/10/91 dktd 12/11/91. (J. SAMAK)

12/9/91 136a JURY TRIAL 12/9/91: Jury sworn, witnesses sworn & testify; mtn by deEts for
sequestration of witnesses-GRANTED; court recesses until 12/10/91; daft
remanded. (csjr) dktd 12/12/91. (J. sAmAK)

12/10/91 136b JURY TRIAL 12/10/91 cont from 12/9/91: witnesses sworn & testify; request by
defts for more time ro prepare defense~DENlED; 60 minutes in recesses
taken; deft sworn & testifies; court recesses at 5:00 p.m. until 12/11/51.
(CSjr) dktd 12/12/91. (J_ sAHAK)

 

 

 

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Case 2:91-Cr-00189-SI\/| Document 250 Filed 05/03/91 Page 16 of 27

UN|TED STATE$ D|STR|CT COURT
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SAMAK & LEE, ET AL

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PROCEEDINGS (continued)

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(Documem No_)

141 JURY TRIAL 12/11/91 CONT from 12/10/91: witnesses swor
closing arguments & jury charged; court excuses altern
jury retires & returns w/verdict of guilty as to both

superseding indictment; jury polled; court orders verd
entered; jury given post verdict instructions; jury re
for deliberation as to sentencing & returns with verdi
orders verdict entered & court adjourned. (CSjr) dktd

(J. sAnAK)

142 ORDER APPOINTING custodian of exhibits, John N. Springe
(CSjr) dktd 12/12/91.

143 Ntc of Sentenciog set 2/19/92 at 10:30 a.m. bfr judge.
144 Court's instructions to jury read 12/11/91. (J. SAMAK)

145 Court's post-verdict instructions read to the jury on

146 M.R. on writ of H/C ad test to Warden, JPCC; unsvd pel
Fred Harper.

147 M.R. on writ of H/C ad test; svd upon Sheriff CCC 12/]
Mtn by deft & ORDERED that same be allowed to travel t
Phoenix on 12/23/91, returning to New Orleans on 12/30
(csjr) dktd 12/18/91. (A. MoUsA)

148

149 SEALED DOCUHENT.

150 Govt & deft's mtn & ORDERED that trial set 1/8/92 be
coNTINUED to 1/22/92 at 10 30 a.m. (csjr) dktd 12/27/9

151 Govt's mtn for sentencing departure & UNSIGNED ORDER.

(o. LEE)

152 J&C: Deft appeared 1/22/92 w/counsel; Finding of Guiltj
Ct l; Deft is committed to USBP for 188 months; upon n
shall be placed on supervised release for 5 yrs, Deft
w/15 standard conditions & other conditions stip; FURH'
that deft pay special assessment of $50.00 as to CT 1
assessment of $50.00. (CSjr) Date Signed 1/22/92 dktd
(D. LEE)

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Mtn by deft & ORDERED that same be allowed to travel to
1/25/92 & returning to N.O. on 2/8/92. Date Signed 1/24
dktd 1/27/92. (A. uousA)

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UN|TED STATES D|STR|CT COURT
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AO 256A
fry DATE PRocEEDqNGs konnmwd) V~EXCLUDABLE DELAY
(Documen\No.) 131 (b) (c) (d)
2/18/92 154 Mtn of deft and GRDER that sent is coNTINUED to 3/18/92 at
10=30 a.m. (csjr)(signed= 2/19/92) dktd 2/21/92 (sAuAK)
2/20/92 155 SENT HRG of 1/22/92/5TATEMENT oF REAsoNs FoR IMPosINc sENT.
(CSjr)(signed: 2/18/92) dktd 2/21/92) (LEE)
/20/92 156 Mtn of US Probation Officer and ORDER that the sent is C TINUED
to 4/1/92 at 10=30 a.m. (csjr)signed= 2/14/92 dktd 2/21/ 2. [T. noUsA)
2/20/92 157 Mtn of US Probation Officer and ORDER that sent is CONTI ED to

4/1/92 at 10:30 a.m. (CSjr)Signed: 2/14/92 dktd 2/21/92 (A. HOUSA)
` 5` '?YT . ;¢ iv

2/27/92 158 M.R. on J&C; deft`deLivenédYbn 2/19/92 tojUSP, Leavenwort1 in

Leavenworth, KS. (D. LEE)

3/9/92 159 Mtn by deft & ORDERED that same be permitted to use tele)hone five
times per week through 4/20/92. (Mag Chasez) Date Signed 3/6/92
dktd 3/9/92. (T. nousA)

3/10/92 160 Mtn by deft & ORDERED that same be Granted permision to travel
to Lafayette, LA on 3/12/92 returning to N.O. on 3/16/92
(csjr) dktd 3/11/92. (A. uousA)

3/11/92 161 M.R. on telephone order; svd at CCC on 3/9/92.

3/24/92 162 J&C: Deft appeared 3/20/92 w/counsel; Finding of Guilty as to`
Cts l & 2; ORDERED that deft be committed to USBP for 5 yrs a, to
Ct 1 and life as to Ct 2, both terms to run concurrently; upon
release from prison, deft to be placed on supervised release “or

3 yrs as to Ct 1, if deft is granted a presidential pardon as to

Ct 2, deft to be placed on supervised release for 5 yrs as to Ct 2
to run concurrently w/supervised release imposed on Ct l; def:
to comply w/15 standard conditions of probation & additional
conditions as stip; FURTHER ORDERED that deft pay special
assessment of $50.00 as to Cts l & 2 for a total assessment
of $100.00 (CSjr) Date Signed 3/20/92 dktd 3/25/92. (J. SAHAK>

3/26/92 163 Ntc of appeal to 5TH Circuit from sentence & conviction. (J SAMAK)
_____________-v

3/27/92 164 Mtn by deft for expedited hrg on same's mtn to continue hentencing
a UNSIGNED 0RDER. (A. MoUsA)

3/31/92 165 Mtn by deft to continue sentencing; no hrg date. (A. MOUBA)

3/31/92 166 M.E. 3/30/92: ORDERED that sentencing be CONTINUED from +/l 92 to
4/15/92. (csjr) dktd 3/31/92. (A. MoUsA)

4/9/92 167 SENTENCING HRG OF 3/20/92 bfr judge. (CSjr) Date Signed 4 8/92
dktd 4/9/92. (J. sAnAK)

4/13/92 168 Psl sEALED ( J. sAMAK)

4/13/92 169 Sentencdng Recommendation SEALED (J. SAMAK)

4/14/92 XX Record forwarded to Ct ;:k:;:;als. (JMD)
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Case 2:91-Cr-00189-SI\/| Document 250 Filed 05/03/91 Page 18 of 27

UN|TED STATES DlSTRlCT COURT MASTER DOCKET SHEET PAGE 7

 

chM\NAL DocKF.T u. S. vs \
cR. 91~189 "A"
UsA v sAMAK, ET AL
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4/16/92 170 ORDERED that deft surrender to BOP by 5/26/92 12:00
noon. (CSjr) 4/15/92 dktd 4/17/92. (A. HOUSA)

4/16/92 171 J&C: SENT held 4/15/92. Deft pled guilty & committed
to custody of BOP for 60 months. Upon release, deft
shall be placed on supervised release for 3 yrs
w/conditions listed. ORDER granting Govt's mtn dismissing
all underlying cts. Special assessment of $50.00
fined. (CSjr) 4/15/92 dktd 4/17/92. (A. HQUSA)
MumI>x.r. PAR‘X'¥_ DIsMIssAL

_ 4/16/92 172 Jsc= sEN'r held 4/15/92. Deft pled guilty on ct.
1 l of superseding bill of info. Deft placed in custody
of BOP for 120 months. Deft to be placed on supervised
release for 3 yrs w/conditions listed. ORDER granting
Govt's mtn dismissing all underlying cts. Special
assessment of $50.00 imposed. (CSjr) 4/15/92 dktd

4/17/92. (T. HOUSA)
CLOSED.

5/6/92 173 SENTENCING HRG OF 4/15/92 bfr judge. (CSjr) dktd 5/7/92 (T. HOUSA)
5/6/92 174 sENTENcING HRG 0F 4/15/92 bfr judge. (csjr) dktd 5/7/92 (A. MoUsA)
6/8/92 175 Transcript order by deft for trial of 12/9, 12/10, and 12/11/91.
(J. sAMAK) `
9/3/92 176 Mtn of deft and ORDER that the property bond in the case is
released by the Court. (Mag ALC) 9/2/92 dktd 9/3/92.
(T. nousA)

11/9/92 XX Record returned from Ct.of Appeals (PNC)

11/9/92 177 ORDER FROM 5TH CIRCUIT: appeal was dismissed for want of
prosecution for failure of appellant to make necessary
financial arrangements with the official court reporter
w/in the time fixed by the rules (CLERK)

1/6/93 XX Record fwd. to Ct. of Appeals (PNC)

3/8/93 178 Transcript order by dft for arraignment & trial of
December 9,10,11, 1991. (J. SAMAK)

3/9/93 179 Transcript of Jury Trial held bfr judge 12/9/91. (J. SAMAK)
3/9/93 180 Transcript of Jury Trial held bfr judge 12/10/91. (J. SAHAK)
3/9/93 181 Transcript of Jury Trial held bfr judge 12/11/91. (J. SAMAH)

1 3/9/93 182 Transcript of Sentencing held bfr judge 3/20/92. (J. SNWHK)
3/10/93 XX Doc's #179 thru 182 fwd. to Ct.of Appeals (PNC)

3/10/93 183 Authorization & voucher for payment of $1,806.00 to be pail
to David Zarek for transcript. (CSjr) Date Signed 3/9/93 dktd 3/11/93.
(J. ~sAMAK)

 

 

 

 

 

 

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Case 2:91-Cr-00189-SI\/| Document 250 Filed 05/03/91 Page 19 of 27

UN|TED STATES DISTR|CT COURT
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AO 256A
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\Documen\ Nu.)
6/9!93 184 ORDER from the 5th Circuit Court of Appeals and IT IS OR)E
that the appellant's mtn to seal all audio recordings of th trial is
GRANTED. (JoLLY) dktd6/11/93. (sAnAK)

6/30/93 185 ORDER FROM 5TH CIRCUIT: ORDERED that appellant Samak's a>pl'cation fox
reinstatement of appeal is GRANTED; FURTHER ORDERED that df 's mtn for
leave to proceed in forma pauperis is GRANTED; FURTHER OIDE D that
dft's mtn to dismiss atty Michael Regan Jr. from further re resenting
him in this cause is GRANTED; FURTHER ORDERED that dft's mt for
appointment of new counsel under CJA 18:3006A is GRANTED ( IENER)

(J. sAuAK)
12/8/93 XX Record returned from Ct. of Appeals (PNC)
12/8/93 186 JUDGMENT FROM 5TH CIRCUIT: ORDERED that the sentence & conviction of the
Distriet court is affirmed. (DUHE, GARzA, sTAGG) (sAuAK)
12/17/93 187 Mtn by dft for new trial based on newly di¢rnvered evidence; no brg date.
(J. sAnAK)
12/30/93 188 M.E. (12/30/93): ORDERED that Govt file any app/response
it may have to mtn of dft for new trial on or bfr 1/31 94. CCS§r);
DKTD= 1/3/94. (sAMAK)
1/10/94 189 Mtn by dft for production of docket entries and issuance of the
docket entries; no hrg set. (SAHAK)
1/12/94 190 M.E. 1/10/94: ORDERED that the clerk forward to dft the pauper application
as stip; upon receipt of the completed application, df 's Etn for free
copies will be considered on the merits. (CSjr) dktd 1/ 2/9 . (J. SA}MK)
1/24/94 191 Govt's opposition to mtn by dft for new trial. (SAHAK)
2/1/94 192 ORDER & REASONS: ORDERED that the mtn by dft for new trial
pursuant to Rule 33 is DENIED (CSjr) Date Signed: 1/31/91
dktd= 2/3/94 (J. sAMAK) -
2/10/94 193 M.E. 2/8/94: ORDERED that the mtn by dft for free copieq be DENIED.
(csjr) Date signed 2/9/94 dktd 2710/9a (J. sAuAK)

2/7/94 l92a Application to proceed in pauper status by dft & UNSIGNE] ORDER. (J. SAMNK)

2/14/94 194 this response to Govt's opposition to his mtn for new trial pursuant
to Rnle 33. (sAnnK)

2/25/94 195 Letter to' 311 90““5¢1 _ ' g returning
exhibits offered at triai' dated 2/25/94 (J. srn£r;l '

5/5/94 196 Application & ORDERED that the property bonds in the am)unts of $123,000.00

and $123‘000.00 respectively be CANCELLED & that the no es be marked
CANCELLED & returned to Salem M. Salem. (CSjr) dktd 5/9 94. (A. HOUSA)
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Case 2:91-Cr-00189-SI\/| Document 250 Filed 05/03/91 Page 20 of 27

 

 

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USA V. SAMAK ET AK Cr 91-189 "A"
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f DATE PnocEEolNGs (eennnued) V~ EXC‘-UDAB'~E DE‘-AY

 

3 £Document No.) (a) (b) (c) ld)

8/12/94 197 Application & ORDER that the appr bond in the amount
of $130,000.00 be cancelled & that the promissory/

note be marked cancelled & the note & power of atty be
be returned to Intser Sakem Judeh/& Abdellkader K. Juleh.
(cs,jr) dktd 8/19/94. (TARK nousA)

 

of $62,000§00 he cancelled & that the collateral mort
note be marked cancelled & be returned to Sana Mousa
Ziadeousac (CS,jr) dktd 8/19/94.(ABDBL T. MOUSA)

8/12/94 198 Application & ORDER that the appr bond in the amount
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§ 8/12/94 199 Application & ORDER that the appr bond in the amount
of $205,000.00 be cancelled & that the promissory/mortgage l
note be marked cancelled & returned to Mansour Kahook
(CSHr) dktd 8/19/94. (TARK MOUSA)

§/12/94 8/12/94 200 Application & ORDER that the appr bond in the amount
of $80,500.00 be cancelled & that the collateral mortgage
note be marked cancelled & be returned to Instar Judei &
Abdellkader Judeh. (CS,jr) dktd 8/19/94. (ABSEL T. HODSA)

8/12/94 201 Application & ORDER that the appr bond in the amount
of $107,000.00 be cancelled & that the collateral mortgage

note be marked cancelled & be returned to Najah & abel Mc usa.
(CS,jr) dktd 8/19/94.(ABDEL T. HOUSA)

8/12/94 202 Application & ORDER that the appr bond in the amount
of $150,000.00 be cancelled & that the collateral mortgage

note be marked cancelled & be returned to Najah & Abdpl L. Mousa.
(CS,jr) dktd 8/19/94.(ABDEL T. HOUSA)

8/12/94 203 Application & ORDER that the appr bond in the amount
of 5180,000.00 be cancelled & that the prbmisso£y mortgage

note be marked cancelled & be returned to Nasser & W e lahook
(CS,jr) dktd 8/19/94.(CSjr) (TARK MOUSA)

1 9/14/94 204 Mtn of dft for free copy of court docs. (SAHAK)

9/20/94 205 M.E. 9/20/94-th Samak's mtn for free copies is granted in
part and denied in part. IT IS ORDERED that dft's req
for free copies of the docket sheel and jgm & commitment o’der is DENIEJ.
FURTHER ORDERED that aft‘§ iéq 'ff>r flr"éé Eépi"é's of His trial
& sent transcripts is GRANTED. (CSjr) dktd 9/21/94. (SAM?K)
2/5/96 206 Mtn of dft for return of tangible property seized during
arrest. (SAMAK)

4/11/96 207 Govt's ans & memo in resp to dft's mtn for return of tangible
property. (SAMAK)

4/18/96 208 M.E. 4/17/96: IT IS ORDERED that the dft's mtn for return cf
tangible property is DENIED, THE Govt having properly disposed of the
damages property which was in its possession. (CSjr) dktd ¢/19/96.

(SAMAK)

 

 

 

 

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Case 2:91-Cr-00189-S|\/| Document 250 Filed 05/03/91 Page 21 of 27

UN|TED STATES D|STR|CT COURT
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AO 256A
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4/29/96 XX Mail returned addressed to Martin Regan of doc # 208.
7/26/99 209 PETN & ORDER that a warrant be issued for dft Abdel Mousl

 

dktd 7/27/99(MOUSA) 1 warrant issued

ALL FURTHER ENTR|ES IN CO‘MPUTER

 

of supervised release filed by Kathy M. Mayfield, U.S. P

 

 

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Case 2:91-Cr-00189-S|\/| Document 250 Filed 05/03/91 Page 22 of 27

 

   

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501 B Oaklawn
Lafayette, LA

Defendant ' s Address

 

M Whalen, Jr.

  
   
 

1100 Poy

  

Gretna,
361-3034

Robert Glass

t.,

  
 

338 Lafayette Street L_IFSA
New Orleans, LA 70130(504) 581-9065__j ~'

 

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